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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION



                                           :

 IN RE AUTOMOTIVE PARTS                    :   2:12-md-02311

 ANTITRUST LITIGATION                      :   Honorable Marianne O. Battani

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 ALL CASES                                 :

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 THIS DOCUMENT RELATES TO:
                                           :
 ALL ACTIONS
                                           :




                      ORDER MODIFYING DISCOVERY STAY

      WHEREAS, on December 23, 2013, the Court granted the Department of Justice

(“DOJ”)’s Motion to Intervene and for a Temporary and Limited Stay of Certain Discovery

in In re Automotive Parts Antitrust Litigation, MDL No. 2311 (“MDL”) (see Stipulated

Order Regarding Motion To Intervene and for a Temporary and Limited Stay of Certain

Discovery by the United States of America (Doc. No. 664) (“Court’s Stay Order”));

      WHEREAS, on June 25, 2014, the Court held that the Court’s Stay Order no longer

prohibited substantive/merits depositions and written discovery concerning the products at
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issue in Wire Harness Systems (Case No. 2:12-cv-00100), Fuel Senders (Case No. 2:12-cv-

00300), and Heater Control Panels (Case No. 2:12-cv-00400) (Doc. No. 750);

       WHEREAS, on January 28, 2015, the Court held that the Court’s Stay Order (1) no

longer prohibited document discovery concerning the products at issue in all then-pending

automotive parts cases before the Court in the MDL except Air Conditioning Systems (Case

No. 2:13-cv-02700) and Constant Velocity Joint Boot Products (Case No. 2:14-cv-02900)1

and (2) no longer prohibited substantive/merits depositions concerning the products at issue

in Instrument Panel Clusters (Case No. 2:12-cv-00200), Bearings (Case No. 2:12-cv-

00500), Occupant Safety Systems (Case No. 2:12-cv-00600), and Anti-Vibration Rubber

Parts (Case No. 2:13-cv-00800) (see Status Conf. Tr. at 54:22-55:6 (Jan. 28, 2015));

       WHEREAS, on January 28, 2015, End-Payor Plaintiffs pointed out that in each of the

four initial cases in the MDL, the Court had ordered those Defendants who had pleaded

guilty to produce those documents that they had produced to the DOJ relating to the products

at issue in those cases and asked the Court to issue the same order for the other then-pending

cases in the MDL. The Court agreed and ordered the Defendants before the Court to “follow

the same protocol” for those other cases, and produce the documents within 90 days of the

January 28, 2015 status conference (Status Conf. Tr. at 55:23-56:8, 57:13 (Jan. 28, 2015));

       WHEREAS, on November 9, 2015, the Special Master held a hearing on End-Payor

Plaintiffs’ Motion to Compel Discovery from Defendants Mitsuba and Koito, which sought

clarification on the Court’s January 28, 2015 order regarding DOJ productions, namely

whether their productions were to be limited to the products for which they had pleaded guilty.

The Special Master ruled that the Mitsuba and Koito Defendants were required “to produce


       1
        At the time, Constant Velocity Joint Boot Products (Case No. 2:14-cv-02900) was the
most recently filed case within In re Automotive Parts Antitrust Litigation.
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ALL documents previously produced to the DOJ whether or not they involve parts that are the

subject of the guilty pleas of these Defendants” (see, e.g., Order Granting in Part and Denying

in Part End-Payor Plaintiffs’ Motion to Compel Discovery from Defendants Mitsuba and

Koito Filed on September 22, 2015 and Further Granting Request for Limited Ruling on Said

Motion by Defendant Keihin North America, Inc., Case No. 2:13-cv-01203, Doc. No. 57).

(Mitsuba and Koito subsequently reached a compromise with the End-Payor Plaintiffs on these

issues, prior to appealing the Special Master’s order to the Court.) The Special Master also

ruled that Keihin was not required to produce the documents it had provided to the DOJ

because it had not pleaded guilty; and

       WHEREAS, on November 19, 2015, the Court held that the Court’s Stay Order no

longer prohibited document discovery concerning the parts at issue in any of the then-pending

cases in the MDL from Instrument Panel Clusters (Case No. 2:12-cv-00200) to, and

including, Spark Plugs (Case No. 2:15-cv-03000), and suggested that substantive/merits

depositions could proceed concerning the parts at issue in those cases as long as the parties

provide notice to the DOJ before a deposition is scheduled to take place (Doc. No. 1141).

       NOW, THEREFORE, after the DOJ’s most recent status report to the Court, the Court

orders as follows:

            1. The Court’s Stay Order no longer prohibits document discovery concerning the

               parts at issue in any of the following automotive parts cases: Oxygen Sensors

               (Case No. 2:15-cv-03100), Automotive Hoses (Case No. 2:15-cv-03200),

               Shock Absorbers (Case No. 2:15-cv-03300), Body Sealing Products (Case

               No. 2:16-cv-03400), Interior Trim Products (Case No. 2:16-cv-03500), Brake

               Hoses (Case No. 2:16-cv-03600), Exhaust Systems (Case No. 2:16-cv-03700),



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           Ceramic Substrates (Case No. 2:16-cv-03800), Power Window Switches

           (Case No. 2:16-cv-03900), Steel Tubes (Case No. 2:16-cv-04000), Access

           Mechanisms (Case No. 2:17-cv-04100), and Side Door Latches (Case No.

           2:17-cv-04200);

   2.     The Court’s Stay Order no longer prohibits substantive/merits depositions

          concerning the parts at issue in any of the currently pending cases in the MDL

          except Body Sealing Products (Case No. 2:16-cv-03400), Steel Tubes (Case No.

          2:16-cv-04000), and Side Door Latches (Case No. 2:17-cv-04200). Consistent

          with the instructions in the Court’s November 19, 2015 Order, notice of a

          deposition should be sent to the DOJ’s Antitrust Division no later than ten

          days before the deposition is scheduled to take place to give the DOJ an

          opportunity to object to the deposition;

        3. The Court orders all Defendants named in Air Conditioning Systems (Case No.

           2:13-cv-02700), Constant Velocity Joint Boots (Case No. 2:14-cv-02900), Spark

           Plugs (Case No. 2:15-cv-03000), Oxygen Sensors (Case No. 2:15-cv-03100),

           Automotive Hoses (Case No. 2:15-cv-03200), Shock Absorbers (Case No.

           2:15-cv-03300), Body Sealing Products (Case No. 2:16-cv-03400), Interior

           Trim Products (Case No. 2:16-cv-03500), Brake Hoses (Case No. 2:16-cv-

           03600), Exhaust Systems (Case No. 2:16-cv-03700), Ceramic Substrates

           (Case No. 2:16-cv-03800), Power Window Switches (Case No. 2:16-cv-

           03900), Steel Tubes (Case No. 2:16-cv-04000), Access Mechanisms (Case

           No. 2:17-cv-04100), Radiators (Truck and Equipment Dealer Plaintiffs

           (“TEDP”) Action) (Case No. 2:15-cv-01007), Starters (TEDP Action) (Case



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                    No. 2:15-cv-01107), and Alternators (TEDP Action) (Case No. 2:15-cv-

                    00707) that have entered a guilty plea in connection with the products at issue

                    in these cases (or for which there has been an announcement of such a plea

                    agreement by the DOJ), to the extent they have not already done so, within

                    ninety (90) days of the entry of this Order, to produce to each separate group of

                    class plaintiffs in these cases (each, a “Plaintiff Group”) that has asserted a

                    pending, non-settled, and not otherwise stayed, claim against that Defendant in

                    the MDL all documents, including any English translations, previously produced

                    to the DOJ related to all products for which that Plaintiff Group has asserted a

                    pending, non-settled, and not otherwise stayed claim against that Defendant. All

                    productions made pursuant to this Order are subject to the limitations set forth

                    in paragraph 4 below as well as the protective order applicable to the

                    particular case, or to the protective order in Wire Harness Systems until such

                    a time as a protective order specifically applicable to the particular case is

                    entered.

         4.        All provisions of the Court’s Stay Order otherwise remain in effect.


IT IS SO ORDERED.

Date:              October 25, 2017                                           s/Marianne O. Battani
                                                                              MARIANNE O. BATTANI
                                                                              United States District Judge



                                                 CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing Order was served upon counsel of record via the Court's ECF System to their
respective email addresses or First Class U.S. mail to the non-ECF participants on October 25, 2017.

                                                                                        s/ Kay Doaks
                                                                                        Case Manager

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